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 7
 8                            UNITED STATES DISTRICT COURT

 9                           EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,

12                         Plaintiff,

13                    v.                           CR. NO. S-07-289 LKK

14   JUAN CAMACHO, et al.,

15                         Defendants.
                                           /
16   UNITED STATES OF AMERICA,

17                         Plaintiff,
18                    v.                           CR. NO. S-07-291 FCD

19   BLANCA SILVA,
                                                   RELATED CASE ORDER
20                         Defendant.
                                           /
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22        Examination of the above-entitled criminal actions reveals

23   that the two (2) actions are related within the meaning of Local

24   Rule 123, E.D. Cal. (2011).         For the reasons set forth in the

25   government's Notice of Related Cases, the assignment of the matters

26   to the same judge is likely to effect a substantial savings of
        Case 2:07-cr-00289-MCE Document 144 Filed 03/16/11 Page 2 of 2




 1   judicial effort and is also likely to be convenient for the

 2   parties.

 3        The parties should be aware that relating the cases under

 4   Local Rule 123 merely has the result that both actions are assigned

 5   to the same judge; no consolidation of the actions is effected.

 6   Under the regular practice of this court, related cases are

 7   generally assigned to the judge to whom the first filed action was
 8   assigned.

 9        IT IS THEREFORE ORDERED that the action denominated CR. NO.

10   S-07-291 FCD be, and the same hereby is, reassigned to Judge

11   Lawrence K. Karlton for all further proceedings.          Henceforth the

12   caption on all documents filed in the reassigned case shall be

13   shown as CR. NO. S-07-291 LKK.

14        IT IS FURTHER ORDERED that the Clerk of the Court make

15   appropriate adjustment in the assignment of criminal cases to

16   compensate for this reassignment.

17        DATED:   March 15, 2011.
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